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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

Case No. CV 17-07639 sJo

 

 

4)
JURY NOTE NUMBER ___/
THE JURY HAS REACHED A UNANIMOUS VERDICT

THE JURY REQUESTS THE FOLLOWING:

 

 

 

 

 

 

 

 

 

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